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                       UNITED STATES DISTRICT COURT
                        NOTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION


 RYAN, LLC,

              Plaintiff,                             No. 3:24-cv-00986-E

 CHAMBER OF COMMERCE OF
 THE UNITED STATES OF
 AMERICA, et al.,

              Plaintiff-Intervenors,

              v.

 FEDERAL TRADE COMMISSION,

              Defendant.


          CONSENT MOTION OF PUBLIC CITIZEN AND
           NATIONAL EMPLOYMENT LAW PROJECT
  FOR LEAVE TO FILE A BRIEF AS AMICI CURIAE IN SUPPORT OF
 DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTIONS FOR STAY OF
       EFFECTIVE DATE AND PRELIMINARY INJUNCTION

      Public Citizen and National Employment Law Project (NELP) respectfully

move for leave to file the accompanying brief as amici curiae in support of the

response by defendant Federal Trade Commission (FTC) opposing the motions for

stay of effective date and preliminary injunction filed by Plaintiff Ryan LLC and

Plaintiff-Intervenors Chamber of Commerce of the United States of America,

Business Roundtable, Texas Association of Business, and Longview Chamber of



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Commerce (collectively, Plaintiffs). All parties have consented to the filing of the

amicus brief.

      1. The Non-Compete Clause Rule determines that noncompete clauses in

employment contracts are unfair methods of competition and restricts most uses of

noncompetes after the Rule’s effective date, September 4, 2024. Non-Compete

Clause Rule, 89 Fed. Reg. 38,342 (May 7, 2024). Challenging the Rule on several

grounds, Plaintiffs have moved to stay the Rule’s effective date and preliminarily

enjoin the enforcement of the Rule. See ECF Nos. 23 & 46.

      Movants Public Citizen and NELP have relevant expertise and a strong

interest in the Rule. Movant Public Citizen is a nonprofit consumer advocacy

organization with members in all 50 states. Among other things, Public Citizen

works for enactment and enforcement of laws to protect workers, consumers, and

the public, including federal agency efforts to administer and enforce worker

protections. Public Citizen frequently appears as amicus curiae to address issues of

statutory interpretation and administrative law. In response to the FTC’s notice of

proposed rulemaking and request for comment, Public Citizen submitted a comment

in support of the proposed rule.

      Movant NELP is a nonprofit organization with over 50 years of experience

advocating for the employment and labor rights of low-wage and unemployed

workers. In collaboration with community partners, including grassroots groups,



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national organizations, worker centers and unions, and local, state, and federal

agencies, NELP seeks to ensure that all employees—especially the most

vulnerable—can take advantage of the basic workplace protections guaranteed in

our nation’s labor and employment laws. In response to the FTC’s notice of proposed

rulemaking and request for comment, NELP submitted a comment in support of the

proposed rule.

      B. Granting leave to file an amicus brief “is solely within the broad discretion

of the district court.” Edwards v. Oliver, 2021 WL 11717751, at *1 (N.D. Tex. Mar.

4, 2021); see United States ex rel. Long v. GSD & M Idea City LLC, 2014 WL

11321670, at *4 (N.D. Tex. Aug. 8, 2014) (“[T]he Court has discretion to consider

‘amicus’ briefing where ‘the proffered information is timely and useful or otherwise

necessary to the administration of justice.’” (citation omitted)).

      Movants respectfully submit that the information and arguments set out in the

proposed amicus brief are desirable and will be useful to this Court in resolving the

pending motions for stay and preliminary injunction. The proposed brief explains

that Plaintiffs’ pending motions should be denied because the merits of their

challenges to the Rule are not likely to succeed. First, the Rule has a strong basis in

the record. The proposed brief explains that the Rule’s prohibition of noncompete

provisions will significantly benefit workers. The brief discusses the numerous

studies in the rulemaking record showing that noncompetes lower wages and reduce



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job mobility. The proposed brief also explains that, as the record shows, these

provisions are often imposed by employers on workers without meaningful consent.

For low-wage workers, who often lack bargaining power and access to legal

resources, the consequences of a noncompete provision can impose particular

hardship.

      Second, the proposed brief explains that Plaintiff-Intervenors’ contention that

the Rule is impermissibly retroactive is incorrect. The Rule does not impose legal

consequences for conduct predating the Rule’s effective date. That the Rule may

upset expectations about the enforceability of pre-existing noncompete provisions

does not make the Rule retroactive.

      The proposed amicus brief is attached to this motion.

                                 CONCLUSION

      The motion for leave to file an amicus curiae brief should be granted.




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May 30, 2024                         Respectfully submitted,
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                       CERTIFICATE OF WORD COUNT

      I hereby certify that pursuant to the Court’s Procedures and Standing Order,

this Motion contains 645 words, excluding the case caption, signature block, and

certificates, but including any footnotes, as calculated by my word processing

software (Microsoft Word for Office 365).

                                      /s/ John E. Wall, Jr.
                                      John E. Wall, Jr.


                         CERTIFICATE OF SERVICE

      I hereby certify that on May 30, 2024, I electronically filed this document

using the ECF System, which will send notification to the ECF counsel of record.

                                      /s/ John E. Wall, Jr.
                                      John E. Wall, Jr.




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